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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01716-CJC-DFM Date November 12, 2021

 

 

Title Converse, Inc. v. Identity Board Shop, LLC et al.

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE PARTIAL

DISMISSAL FOR LACK OF PROSECUTION

Plaintiffs are required to prosecute their cases diligently. That includes, where applicable,
promptly (a) filing stipulations extending a defendant’s time to respond to the complaint, (b) pursuing
default and remedies under Federal Rule of Civil Procedure 55 when a defendant fails to timely
respond to the complaint, or (c) dismissing claims against a defendant that the plaintiff has chosen not

to pursue for any reason.

Here, Plaintiff has filed a proof of service as to Defendant Identity Board Shop, LLC yet the
deadline for that Defendant’s response to the Complaint has passed and Plaintiff has taken no action.
Accordingly, the Court, on its own motion, hereby ORDERS Plaintiff to show cause in writing, no later
than November 16, 2021 why this Defendant should not be dismissed from this action for lack of
prosecution. As an alternative to a written response by Plaintiff, the Court will consider as an
appropriate response to this OSC the filing of one of the following on or before the above date:

1. Plaintiff's Request for Entry of Default as to this Defendant or this Defendant’s Answer

2. A stipulation extending this Defendant’s time to respond to the Complaint that complies with
Local Rule 8.3, or

3. A Notice of Voluntary Dismissal of this Defendant (Fed. R. Civ. P. 41).
No oral argument will be heard on this matter unless ordered by the Court. The Order will

stand submitted upon the filing of a timely and appropriate response. Failure to file a timely and
appropriate response to this Order may result in dismissal of Plaintiff's claims against this defendant.

 

Initials of Deputy Clerk rrp

 

 

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